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                             UNITED STATES DISTRICT COURT

5
                          SOUTHERN DISTRICT OF CALIFORNIA

6
                                  (Honorable Janis L. Sammartino)

7
     UNITED STATES OF AMERICA,                  ) CASE NO.: 3:20-CR-01351-JLS
8                                               )
                     Plaintiff,                 )
9                                               )
           vs.                                  ) ORDER GRANTING JOINT
10                                              ) MOTION TO CONTINUE MOTION
                                                )
11                                              ) HEARING/TRIAL SETTING
     ANDREA MELISSA GUICHO,                     )
12                                              )
                     Defendant.                 )
13                                              )
                                                )
14                                              )
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           IT IS HEREBY ORDERED, that for good cause being shown, the motion

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     hearing/trial setting in the above-mentioned matter currently set for October 23,

18   2020 at 1:30 p.m. be continued to November 20, 2020 at 1:30 p.m. Defendant
19   shall file an acknowledgement of the new hearing date by October 30, 2020.
20         For the reasons provided in the parties’ motion (Dkt. No. 40), the Court
21   excludes time through November 30, 2020 and finds that the ends of justice served
22   by taking such action outweigh the best interest of the public and the defendant in a
23   speedy trial.
24         IT IS SO ORDERED.
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     Dated: October 21, 2020
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